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17                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF ARIZONA
18

19
     United States of America,                     NO. CR-18-00422-PHX-DJH
20
                              Plaintiff,           DEFENDANTS’ MOTION FOR A NEW
21   vs.                                           TRIAL
22
     Michael Lacey, et al.,
23
                              Defendants.
24

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 1             Defendants Michael Lacey, Scott Spear, and John Brunst move, under Fed. R. Crim.
 2   P. 33, for the Court to vacate their convictions and grant a new trial if the Court does not
 3   grant their motions for a judgment of acquittal on all counts. For the reasons set forth
 4   below, the interests of justice require a new trial.
 5   1.        The Court Should Grant a New Trial Based on the Grounds Advanced in
 6             Defendants’ Rule 29 Motions If Those Motions Are Not Granted.
               Defendants incorporate by reference the factual and legal bases for relief advanced in
 7
     their Motions for Judgments of Acquittal, as if set forth here in full. If the Court does not
 8
     grant those motions, the bases asserted in them also justify the granting of a new trial.
 9

10   2.        The Court Should Grant a New Trial (or Dismiss) Based on the Government’s
               Failure to Make Disclosures Required by the Jencks Act and by Brady .
11
               Defendants seek a new trial based on multiple failures by the government to timely
12
     disclose materials to the defense as required both by the Jencks Act, 18 U.S.C. § 3500, and
13
     by the requirements of Brady v. Maryland, 373 U.S. 83 (1963). Defendants focus on two
14
     discrete failures: 1) the government’s failure to timely disclose Carl Ferrer’s emails with its
15
     case agent, Lyndon Versoza, which the government disclosed to the defense only after the
16
     jury in this case was deliberating; and 2) the government’s failure to disclose the factual
17
     information the government developed during its investigation of Backpage.com in the
18
     Western District of Washington in 2012-2013 (the “WDWA Investigation”), which, among
19
     other things, undermines, if not contradicts, the government’s trial positions that “anyone
20
     could tell” from looking at the adult ads that ran on Backpage.com that those ads were
21
     associated with illegal conduct and that Backpage’s moderation practices showed criminal
22
     intent.
23
               With respect to the first failure, Defendants incorporate by reference the factual and
24
     legal bases for relief advanced in the Supplement to Defendants’ Motion to Dismiss or to
25
     Strike Testimony, and Request for a Hearing Due to the Government’s Jencks and Brady
26
     Violations (Doc. 1972), and the reply. To the extent that the indictment is not dismissed,
27
     those same arguments support this request for a new trial.
28

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 1           With respect to the second failure, throughout the presentation of its case, the
 2   government advanced the narrative that “anyone could tell” that most adult ads on Backpage
 3   related to prostitution, just by looking at the ads. The government presented significant
 4   testimony and other evidence to that effect, such as exhibit 52 (expressing the opinion that
 5   “blatant prostitution ads are rampant” on Backpage) and exhibit 119 (“[i]t does not require
 6   forensic training to understand that these advertisements are for prostitution”), as well as so-
 7   called not-for-the-truth “notice” evidence from financial institutions, credit card companies,
 8   and non-profit organizations. From its opening 1 to both of its closings, 2 the government
 9   repeatedly exhorted the jury to conclude that all Backpage adult ads related to prostitution
10   because they look like they do.
11           The government has steadfastly refused, despite repeated requests from and motions
12   by the defense, to produce nearly all the factual information developed during the WDWA
13   Investigation, a federal investigation that took place right in the middle of the alleged
14   conspiracy and did not result in a prosecution of Backpage or its owners. The government
15   has claimed that the WDWA Investigation is irrelevant to this case, but the government
16   elicited testimony from its cooperating witness at trial that Backpage.com was under
17   “pressure” from the WDWA Investigation, so used the investigation as a sword at trial while
18

19   1 08/31/23 p.m. Tr. at 147:10-11 (“the evidence is going to show that the Adult section was
     for prostitution ads”).
20   2 11/01/23 a.m. Tr. at 45:9-15 (“Mr. Eisenberg talked about in his closing argument about

21   Grant Snyder saying that the ads did not provide direct evidence of prostitution. You may
     remember him talking about that. Well, remember he said it was suggestive, and so did their
22   expert. That is essentially circumstantial evidence. They are saying, ‘Yeah, it looks like
23   prostitution.’ It is circumstantial evidence of prostitution.”); 11/01/23 a.m. Tr. at 61:3-8
     (“And then don’t forget the expert Dr. Mehlman-Orozco, the person who can’t answer a
24   straight yes or no question…. She cannot be taken seriously, ladies and gentlemen. She says
     she doesn’t know whether they were real ads or not, but you know.”); 10/27/23 a.m. Tr. at
25   10:21-11:2 (“And you can look at her postings. Look at a few – at least one of them. You
26   will see all the indicators of prostitution… [T]hey have this term that you see in a lot of these
     things because this is trying to give them, you know, some type of plausible deniability and
27   smoke out law enforcement. This is not an offer for prostitution. All donations are for my
     time and companionship only. We saw that in some form in a lot of the postings. It’s
28
     nonsense, though; right? This is really for prostitution.”).
                                                     2
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 1   seeking to shield disclosures relating to that investigation. 3 Defendants believe the WDWA
 2   Investigation determined that, even though many people who saw Backpage.com adult ads
 3   might conclude the ads related to prostitution, their conclusions would be unsound because
 4   so many activities involving sex and money are lawful, even if those activities might look like
 5   prostitution to an average person. That determination seriously undermined one of the core
 6   tenets of the government’s case and would have been both exculpatory and impeaching at
 7   trial. Defendants also believe the WDWA Investigation determined that Backpage.com’s
 8   moderation practices were consistent with industry standards. That determination
 9   undermines another core tenet of the government’s case, that Backpage.com’s moderation
10   program was designed to facilitate prostitution, and would have been both exculpatory and
11   impeaching at trial.
12          When the Court first stepped into this case, it declined to dismiss this case based on
13   the government’s failure to produce these materials, saying that the government’s case was
14   “in its infancy” when the issue arose in the previous trial, and that the “materiality of the
15   documents ha[d] not been established.” Doc. 1444 at 14:8-16. The Court “decline[d] to
16   make a ruling as to the relevancy or materiality of the WDWA documents at th[at] juncture.”
17   Id. (emphasis added). Having now seen the entirety of the government’s case, the Court
18   should have little difficulty seeing how the information the government has withheld from
19   the defense would be both relevant and material to the defense, particularly given the low
20   bar for materiality under Brady: “materiality is a low threshold; it is satisfied so long as the
21   information . . . would have helped to prepare a defense.” United States v. Soto-Zuniga, 837 F.3d 992,
22   1003 (9th Cir. 2016) (emphasis added). The government’s refusal to produce to the defense
23   these plainly exculpatory and impeaching materials warrants, at a minimum, at new trial, if
24   not the granting of the defense’s previous motion to dismiss with prejudice based on the
25   government’s failure to provide these materials before the first trial. (Docs. 1355, 1410).
26

27
     3 “Q. And in 2012, if you know, were you experiencing any pressure regarding the website?
28
     A. Yes, there was another prostitution investigation of the site.” 09/13/23 am Tr. at 80:5-8.
                                                        3
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     3.     The Court Should Grant a New Trial Because the Government Elicited False
 1
            or Misleading Testimony from Carl Ferrer.
 2          If a prosecutor elicits false or misleading testimony from a trial witness about a
 3   material fact, the defendant has been denied due process of law, requiring reversal of his
 4   conviction. Alcorta v. Texas, 355 U.S. 28, 31 (1957) (a prosecutor’s elicitation of testimony
 5   that “gave the jury the false impression” about a material fact “was not accorded due process
 6   of law,” requiring the reversal of the conviction). “A lie is a lie, no matter what its subject,
 7   and, if it is in any way relevant to the case, the [prosecutor] has the responsibility and duty to
 8   correct what he knows to be false and elicit the truth….That the prosecutor’s silence was not
 9   the result of guile or a desire to prejudice matters little, for its impact was the same,
10   preventing, as it did, a trial that could in any real sense be termed fair.” Napue v. Illinois, 360
11   U.S. 264, 269-270 (1959); accord Brown v. Borg, 951 F.2d 1011, 1015 (9th Cir. 1991)
12   (“prosecutor had a duty not to mislead the jury” by presenting testimony “in such a way as
13   to suggest the opposite of what she alone knew to be true;” by violating this duty, she
14   “pervert[ed] the adversarial system and endanger[ed] its ability to produce just results,”
15   which required the conviction to “be overturned unless the misconduct can be proven to be
16   harmless beyond a reasonable doubt”).
17
            To establish a constitutional violation requiring reversal under Napue:
18          a defendant must show: (1) testimony or evidence presented at trial was
            actually false or misleading; (2) the government knew or should have known
19
            that it was false; and (3) the testimony was material, meaning there is a
20          reasonable likelihood that the false testimony could have affected the judgment
            of the jury.
21
     United States v. Kabov, 2023 U.S. App. LEXIS 18214, at *2 (9th Cir. July 18, 2023) (emphasis
22
     in original; internal quote marks omitted). “Mere speculation is insufficient to establish a
23
     claim under Napue. There must be something in the prosecutor’s questioning, or the
24
     answers given, that may be construed to reflect an intention by the prosecutor to mislead the
25
     jury.” United States v. Renzi, 2013 U.S. Dist. LEXIS 202881, at *13 (D. Ariz. Oct. 25, 2013)
26
     (cleaned up; internal citation omitted). “Although Napue does not create a per se rule of
27
     reversal, [the Ninth Circuit] has gone so far as to say that if it is established that the
28

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 1   government knowingly permitted the introduction of false testimony reversal is virtually
 2   automatic.” Sivak v. Hardison, 658 F.3d 898, 912 (9th Cir. 2011) (cleaned up).
 3          One thing that was glaringly absent from the government’s case was evidence that
 4   Messrs. Lacey, Spear, or Brunst had any contemporaneous knowledge about any of the
 5   charged ads or took any action connected to the publication of any charged ad. The only
 6   evidence that the government presented to try to connect any Defendant or even any
 7   purported co-conspirator to any of charged ads or the persons posting them related to
 8   Pamela Robinson—notably the testimony the government elicited from Carl Ferrer about
 9   “his” emails with Ms. Robinson. 09/14/23 p.m. Tr. at 79:7-102:8. The prosecution asked
10   Mr. Ferrer: “did you have e-mail exchanges with somebody by the name of Pamela
11   Robinson?” Mr. Ferrer answered: “Yes.” Id. at 79:7-9. The government then asked Mr.
12   Ferrer numerous questions about exhibits 162, 162-a, 163-165, and 168, which were a series
13   of emails between Pamela Robinson and “Carl” or “carl@backpage.com.” Those questions
14   were intended to convey the false impression that Carl Ferrer was one of the parties to these
15   emails, while both the prosecutor and the witness knew that he was not and, therefore,
16   generally referred in their questions and answers to emails to and from an email address—
17   carl@backpage.com—rather than by referring to emails to and from Mr. Ferrer. The
18   following examples are illustrative:
19
            Q. So looking at Page 2 of 162, what question is Pamela Robinson asking Carl
20          at carl@backpage.com?
            A. She’s asking, “can i use the promo code to get a discount on my escort
21          ads?”
            Q. And what do you respond? What does carl@backpage.com respond?
22
            A. “Yes. It will work in any category. Carl.”
23          09/14/23 p.m. Tr. at 80:24-81:5.
24          Q. All right. Then let’s go to Exhibit 164 for the witness’ eyes only. Now,
25          Exhibit 164, is this also a continuation of an exchange between you and
            Pam—or carl@backpage and Pamela Robinson?
26          A. Yes.
            09/14/23 p.m. Tr. at 88:19-23.
27

28

                                                   5
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            Q. What is this? Can you tell us what -- what is this in effort -- or what are
 1
            you saying here to Pamela Robinson?
 2          A. So Pamela Robinson, she received a marketing e-mail from
            carl@backpage.com and it had her last post on 2010 March 27th in the
 3          category of biz ops.
            09/14/23 p.m. Tr. at 89:4-8.
 4

 5          Q. Now, what does carl@backpage.com tell her?
            A. “Hi, you should be able to edit now. Please let us know if you are still
 6          having trouble.”
 7          Q. All right. What is she—what is she talking about here in this e-mail
            exchange? We’re now—we started in 2010. Now we’re in 2012, right?
 8          A. Yes.
            Q. All right. What is -- what is she saying here to you?
 9          A. She’s concerned about an article that broke in Seattle about the possible
10          addition of—
            09/14/23 p.m. Tr. at 90:15-24.
11
            After the government left the jury with the impression for nearly a month that Mr.
12
     Ferrer had been directly exchanging emails in 2010, 2011, and 2012 with Pamela Robison,
13
     whose ads accounted for ten of the fifty charged ads, Mr. Ferrer was confronted about his
14
     testimony on cross-examination and admitted: “It really wasn’t my email address.”
15
     10/10/23 a.m. Tr. at 104:10. Mr. Ferrer then admitted that emails to the
16
     carl@backpage.com address went to his staff and that the emails from that address to Ms.
17
     Robinson could have been written by any of several members of his staff. 10/10/23 a.m.
18
     Tr. at 104:11-24.
19
            There can be no doubt that Mr. Ferrer’s testimony was false (or at least highly
20
     misleading), that the prosecutor knew it was false (or at least highly misleading), and that the
21
     testimony was material. As to the first point, Mr. Ferrer admitted on cross-examination that
22
     the emails to and from the carl@backpage.com email address were received by and
23
     responded to by his staff, not by him, contrary to his testimony on direct examination. As to
24
     the second point, this is a textbook case of there being “something in the prosecutor’s
25
     questioning, or the answers given, that may be construed to reflect an intention by the
26
     prosecutor to mislead the jury.” Renzi, 2013 U.S. Dist. LEXIS 202881, at *13. 4
27
     4 The prosecutor’s questions to Mr. Ferrer were so far from norm, and forced, that the
28
     prosecutor kept saying “you,” and then quickly correcting himself to say
                                                    6
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 1          As to materiality, there can be no question that the false or misleading testimony the
 2   prosecutor elicited from Mr. Ferrer could have affected the judgment of the jury. First,
 3   Pamela Robinson’s ads were ten of the fifty charged ads (eight of the seventeen substantive
 4   Travel Act convictions). Second, Mr. Ferrer’s false testimony about emails with Pamela
 5   Robinson was the principal means the government used to try to link the Defendants to any
 6   of the charged ads, if only through Mr. Ferrer, their purported co-conspirator. Finally, the
 7   same prosecutor who elicited the false testimony from Mr. Ferrer on direct went on to
 8   exploit Ferrer’s false testimony in his closing argument, as if Ferrer had never recanted:
 9
            You remember this bit of testimony with Mr. Ferrer. He talked about this
10          email exchange. There’s a number of email exchanges between a woman by
            the name of Pamela Robinson. Her email address is clprovider@yahoo.com.
11          This is one of the emails. This is Exhibit 164. She says: I don’t do this
            because I want to. I do it because I have to…. You also know from the email
12
            exchange she had problems with them deleting her posts -- her picture.
13
     10/27/23 a.m. Tr. at 10:5-14. Given the weakness of the government’s case and the lack of
14
     evidence to tie any defendant or any purported co-conspirator to any charged ad, Mr.
15
     Ferrer’s false testimony unquestionably could have affected the judgment of the jury.
16
     Because the government purposely elicited false or misleading testimony at trial, on a
17
     material point, reversal is warranted as “virtually automatic.” Sivak, 658 F.3d at 912.
18
     4.     The Court Should Grant a New Trial Because the Government Repeatedly
19          Made Improper Arguments in its Opening and Closings.
20
            A.     The Government Improperly Urged the Jury to Convict Defendants of
21                 Conspiracy Based on a Legally Insufficient Object.
22          As discussed in Mr. Brunst’s Rule 29 motion, the government exhorted the jury to
23   convict on conspiracy under Count 1 arguing the object of the conspiracy was to “make
24   money,” which is not a federal crime:
25

26

27   “carl@backpage.com.” On one occasion, the prosecutor failed to use
     “carl@backpage.com,” but the witness then used the email address in his response in an
28
     apparent attempt to cover for the prosecutor.
                                                    7
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            Defendant [sic] became members of the conspiracy knowing of at least one of
 1
            its objects and intending to help accomplishment -- accomplish it. What is the
 2          object in this case? Well, one of the object [sic] is to make money. And they
            did.
 3
     10/27/23 a.m. Tr. at 6:22-23. Because there is no way to know now whether the jury
 4
     followed the prosecutor’s exhortation and convicted Spear and Brunst based on this legally
 5
     insufficient object, at a minimum a new trial is warranted if the Court does not acquit.
 6
     Because Defendants’ motion to dismiss Count 1 for stating the same legally insufficient
 7
     object remains pending (Doc. 1744), a more appropriate outcome would be to dismiss
 8
     Count 1 for the reasons set forth in the motion to dismiss, as a sanction for the government
 9
     urging the jury to convict Defendants on patently legally insufficient grounds, or both.
10
            B.     The Government Improperly Urged the Jury to Convict Defendants of
11
                   Conspiracy Based on an Impermissible Boundless Conspiracy.
12
            In 2019, Defendants moved to dismiss Count 1 because it improperly charged a
13
     boundless conspiracy to promote prostitution in general. See, e.g., Doc. 798 at 3-6. The
14
     Court denied Defendants’ motion, holding:
15
            Defendants’ suggestion that the SI improperly indicts a ‘boundless conspiracy
16          to facilitate prostitution in general,’ (Reply at 4), however, mischaracterizes the
17          charges against them. Such a claim is simply untrue. They were not indicted
            for facilitating the amorphous notion of ‘prostitution.’ They were indicted for
18          facilitating (via publishing ads) on fifty distinct occasions where prostitutes,
            prostitution-related businesses, or other groups were involved in the business
19          of prostitution.
20   Doc. 946 at 13:17-22.
21          Moreover, Defendants repeatedly objected to the government’s proposed jury
22   instructions on related grounds—that the government’s instructions suggested that any
23   person who posted an ad on Backpage.com could be a member of the conspiracy, but such a
24   boundless conspiracy was legally impermissible because it necessarily would amount to
25   multiple conspiracies, not one conspiracy:
26
            Such a boundless conspiracy also would be a classic hub and spoke conspiracy
27          lacking a rim, which the Supreme Court held impermissible in Kotteakos v.
            United States, 328 U.S. 750, 754–55 (1946) (“[T]he pattern was ‘that of separate
28          spokes meeting at a common center,’ though we may add without the rim of
                                                    8
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            the wheel to enclose the spokes.”); Dickson v. Microsoft Corp., 309 F.3d 193, 203
 1
            (4th Cir. 2002) (“A rimless wheel conspiracy is one in which various
 2          defendants enter into separate agreements with a common defendant, but
            where the defendants have no connection with one another, other than the
 3          common defendant’s involvement in each transaction . . . . In Kotteakos, the
            Supreme Court made clear that a rimless wheel conspiracy is not a single,
 4
            general conspiracy but instead amounts to multiple conspiracies between the
 5          common defendant and each of the other defendants.”).
 6   Doc. 1626-3 at 64-65, 72, 77.
 7          In its closing, the government ignored both this Court’s ruling on Defendants’
 8   motion to dismiss and the law cited in Defendants’ objections to the government’s proposed
 9   jury instructions, and told the jury it could convict Defendants of the boundless conspiracy
10   the Court previously held had not been charged:
11          Three elements to conspiracy. There was an agreement between two or more
12          persons to commit violations of the Travel Act. That’s all we need, is two
            people. But you know from the testimony and the evidence that there were
13          more than two. There’s [sic] these five defendants. There’s Mr. Ferrer. Mr.
            Hyer. There’s Mr. Adams. There’s even Dollar Bill, Mr. Mersey. There’s
14          David Elms, who was running The Erotic Review. Those were the
15          conspirators. Then every pimp who posted on Backpage.com and used the
            money to run their criminal—their—their small criminal enterprise of
16          prostitution, they are your conspirators.
17   10/27/23 a.m. Tr. at 6:8-18.
18          Because the government asked the jury to convict the Defendants in its closing based
19   on a legally impermissible boundless conspiracy, the Court should reconsider its denial of
20   Defendants’ prior motion to dismiss Count 1, dismiss Count 1, and vacate the convictions
21   for violating Count 1. Alternatively, because there is no way to know now whether the jury
22   followed the prosecutor’s exhortation and convicted Messrs. Spear and Brunst based on the
23   legally impermissible boundless conspiracy, at a minimum a new trial is warranted if the
24   Court does not dismiss or acquit on Count 1.
25   C.     The Government Improperly Urged the Jury to Convict Defendants of
26          “Promoting Prostitution.”

27          From the start of its opening statement to the end of its rebuttal closing, the

28   government repeatedly conflated promoting a specific business enterprise involving

                                                    9
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 1   prostitution offenses with “promoting prostitution,” telling the jury repeatedly that the
 2   Defendants could be convicted for “promoting prostitution.” 5 For example:
 3
            “The evidence at trial will show how defendants used three different strategies
 4          to market and promote prostitution…” 08/31/23 p.m. Tr. at 146:18-19.

 5          “The charges for these five defendants, they’re all charged with promoting
            prostitution…”. 08/31/23 p.m. Tr. at 147:24-25.
 6

 7          “At the end of the trial, you will be asked to deliberate on whether or not
            these five individual defendants are guilty or not guilty of promoting
 8          prostitution. Three of the defendants are also charged with money laundering
 9          offenses, money laundering meaning when they get the proceeds from the
            promotions of—from the promoting prostitution, what they did with it.”
10          08/31/23 p.m. Tr. at 148:6-13.
11          “These defendants promoted prostitution when they built up the website…”.
12          08/31/23 p.m. Tr. at 173:12-13.

13          “What’s the evidence in this case? What is the evidence that Backpage
            promoted prostitution? Well, who did you hear from? You heard the
14          testimony of Carl Ferrer and Dan Hyer and Jess Adams, all insiders of
15          Backpage.” 10/26/23 p.m. Tr. at 52:24-53:2.

16          “The defendants’ own words in the form of their own internal emails
            demonstrate that three knew they were running a prostitution website and
17
            they were promoting prostitution.” 10/26/23 p.m. Tr. at 53:18-20.
18
            “Mr. Ferrer…estimated that they received 20,000 subpoenas…Isn’t that just
19          evidence enough, frankly, that they were running a criminal enterprise that was
            facilitating and promoting prostitution, just the mere fact that they are getting
20
            these subpoenas?” 10/26/23 p.m. Tr. at 83:9-15.
21
            “There is a lot of evidence in the charges, but the case is actually quite simple.
22          There are 51 counts focused on how the defendants promoted prostitution,
23          and there are 49 counts focused on how the defendants engaged in money
            laundering of the illegal profits they made from promoting prostitution.”
24          11/01/23 p.m. Tr. at 38:12-17.
25

26
     5 The government’s repeated claims in its opening and each closing could not have been
     inadvertent, given the Court’s ruling that Defendants: “were not indicted for facilitating the
27   amorphous notion of ‘prostitution.’ They were indicted for facilitating (via publishing ads)
     on fifty distinct occasions where prostitutes, prostitution-related businesses, or other groups
28
     were involved in the business of prostitution.” Doc. 946 at 13:17-22.
                                                    10
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            “What else do you have, though, to show that those laws were violated and
 1
            that they were in fact promoting prostitution? We brought before you
 2          multiple witnesses.” 11/01/23 p.m. Tr. at 49:13-15.

 3   “Promoting prostitution” is not a federal crime, but the prosecutors told the jury repeatedly

 4   that they could convict Defendants for “promoting prostitution.”

 5          The government also told the jury in the rebuttal closing that promoting prostitution

 6   “means helping someone commit a prostitution offense, and that’s what Backpage did”

 7   (11/01/23 p.m. Tr. at 51:12-13), but the law plainly does not permit Defendants to be

 8   convicted of either substantive Travel Act offenses or conspiracy to violate the Travel Act

 9   simply because the Backpage.com website helped someone commit a prostitution offense.

10   Because the government presented absolutely no evidence that any Defendant knew

11   anything about any of the charged ads, or knew anything about any person who posted or

12   who was featured in any of the charged ads, or took any action connected to the publication

13   of any of the charged ads, Mr. Spear’s substantive Travel Act convictions and Messrs.

14   Spear’s and Brunst’s conspiracy convictions are far more likely to have resulted from the

15   government repeatedly telling the jury that they could be convicted if Backpage.com

16   “promoted prostitution” rather than the jury having found that either Messrs. Spear or

17   Brunst did something to help publish an ad with the specific intent to facilitate a business

18   enterprise they knew to be involved in prostitution offenses. Indeed, there was no such

19   evidence even as to Mr. Ferrer with respect to the fifty charged ads—except for the false

20   testimony the government elicited from him regarding Pamela Robinson.

21   D.     The Government Improperly and Repeatedly Told the Jury It Could Convict
            Defendants Without a Showing of Specific Intent.
22
            In its closing, the government repeatedly implied that the jury could convict
23
     Defendants without need to find the specific intent required for violations of the statutes. It
24
     did not do so using those words, but by repeatedly telling the jury that it could convict on
25
     grounds that were utterly lacking in specific intent.
26
            For example, the government told the jury that Carl Ferrer’s testimony that Backpage
27
     received thousands of subpoenas over the years was, standing alone, sufficient for the jury to
28

                                                    11
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 1   convict the Defendants of the fifty-one charges relating to the Travel Act: “Isn’t that just
 2   evidence enough, frankly, that they were running a criminal enterprise that was facilitating
 3   and promoting prostitution, just the mere fact that they are getting these subpoenas?” 10/26/23 p.m.
 4   Tr. at 83:9-15 (emphasis added). There was absolutely no basis in fact or in law to support
 5   that outlandish and outrageous claim, which not only bypassed any requirement to prove
 6   specific intent, but also required no subsequent overt act.
 7          In the rebuttal closing, the government doubled down—telling the jury it had
 8   absolutely no obligation to prove that any Defendant had any knowledge of any of the
 9   charged ads:
10
            Next, the defendants argue, well, they had [no] knowledge of these specific 50
11          ads. Ladies and gentlemen, these ads are just a sample. We’re not going to
            charge them with a million counts based upon the millions of ads. That’s why
12          there’s a conspiracy charge covering the statute, covering the 14-year life of
            the conspiracy. What I’m not -- what I’m not going to show you is a jury
13
            instruction says we must prove that any defendant had specific knowledge of
14          these particular ads because it isn’t in there. We don’t have to do that.
15   11/01/23 a.m. Tr. at 50:6-14. Here, the government not only told the jury that it did not
16   need to find specific intent, but the government gratuitously added the highly inflammatory
17   and prejudicial suggestion that it could have charged Defendants with “a million counts,”
18   but only was asking the jury to convict them of a modest fifty counts—which by itself
19   justifies a new trial. See United States v. Ballard, 727 F. App’x 6, 10 (2d Cir. 2018) (vacating
20   convictions because trial court should have granted a new trial under Fed. R. Crim. P. 33 due
21   to improper prosecutorial summation comments suggesting that incriminating evidence had
22   not been put before the jury). As the government introduced no evidence that any of those
23   millions of ads proposed an illegal transaction, and thus the jury was obligated to presume
24   that Backpage.com’s publication of those ads was protected by the First Amendment, the
25   government’s suggestion to the jury that Defendants could have been charged with a
26   “million counts” was highly improper.
27          Responding to the argument of Mr. Brunst’s counsel that Brunst was not involved in
28   the operations of Backpage.com (and thus could not have had the specific intent to violate

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 1   the Travel Act), the government told the jury that what mattered was not what Mr. Brunst’s
 2   role was, but that he made a lot of money—again telling the jury to ignore the need to find
 3   specific intent:
 4
            You heard some back and forth essentially between Mr. Rapp, Mr. Lincenberg
 5          about what Mr. Brunst’s role was. You heard Mr. Lincenberg refer to him as a
            nonoperational CFO, whatever that means. You’ve heard him refer to as a bill
 6          collector, a bag man. Ladies and gentlemen, I am telling you, you can call him
            bananas. It doesn’t matter what you call him. What matters is that he made
 7
            millions off of Backpage.
 8
     11/01/23 a.m. Tr. at 47:1-8.
 9
            It is no wonder that the jurors were confused about how to apply the Court’s
10
     instructions, since the government repeatedly told the jury that it should convict Defendants
11
     on grounds that the instructions did not allow, like making money, receiving subpoenas, or
12
     the millions of purported counts that the government did not charge. These are just a few
13
     examples of the government trying to induce the jury to disregard the Court’s instructions
14
     and convict the Defendants regardless of the law, which it appears the jury ultimately did.
15
     The government’s repeated statements to the jury that it could convict Defendants on
16
     factually and legally insufficient grounds was highly prejudicial and warrants a new trial.
17
     E.     The Government Improperly Exhorted The Jury To Convict Defendants
18          Based On Backpage.com’s Publication of Ads Protected by the First
19          Amendment.

20          Defendants incorporate by reference the First Amendment argument set forth in Mr.

21   Spear’s Rule 29 motion as a basis for a new trial and supplement that argument with the

22   following. Throughout the trial, the government elicited evidence, most of which was

23   admitted under the not for the truth hearsay exception, of politicians, clergy, representatives

24   of non-governmental organizations, and reporters claiming that Backpage.com adult

25   advertisements were associated with illegal activity and calling for Backpage.com to either

26   cease publishing adult advertisements or to shut down the website altogether. But those

27   calls for Backpage.com to stop publishing were made on political, religious, moral, and other

28   grounds—not legal grounds. The government told the jury in the closing that “[t]hey know

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 1   about the Attorney Generals letters, and they know they are not on solid ground”
 2   (11//01/23 a.m. Tr. at 54:13-14), but that was not true, as the National Association of
 3   Attorneys’ General letters admitted at trial claimed that many Backpage.com ads related to
 4   illegal activity but the N.A.A.G. letters never claimed that Backpage was engaged in unlawful
 5   conduct for publishing such ads. Nor did the N.A.A.G. letters claim that Backpage.com’s
 6   publication of those ads was unprotected by the First Amendment. 6 To the contrary, in its
 7   letter calling on Backpage.com to shut down its adult services section, N.A.A.G. justified its
 8   call on moral, not legal, grounds, saying: “We too, call on backpage to listen, to care, and
 9   respond now by shutting down the adult services section of its website. It is the right thing
10   to do to protect innocent women and children.” Exhibit 52. The government’s
11   introduction of prodigious amounts of evidence, both testimonial and documentary, of calls
12   for the shutdown of Backpage.com on political, religious, moral, and other grounds—not
13   because Backpage.com’s publication of adult advertising was unprotected by the First
14   Amendment and subject to criminal sanction—was highly prejudicial to Defendants and of
15   no relevance to the jury’s determination under the Court’s jury instructions of whether “an
16   ad propose[d] an illegal transaction” and, therefore, was “not protected by the First
17   Amendment.” Doc. 1998 at 48. Instead, the government’s evidence and its argument to the
18   jury in closing that the jury could convict Defendants because they did not shut down the
19   website was yet another call for the jury to ignore the Court’s jury instructions, by failing to
20   apply the presumption that Backpage’s publication of adult ads was protected by the First
21   Amendment unless the government proved that “an ad propose[d] an illegal transaction.”
22   Id.
23
     5.     The Court Should Grant a New Trial Because the Government Used Evidence
24          Admitted Under the Not for the Truth Hearsay Exception For Its Truth,
            Making That Evidence Impermissible Hearsay.
25

26
     6 Moreover, as the government well knows, Backpage.com’s response letters to N.A.A.G.
27   expressly asserted that its publication of such ads was First Amendment protected and
     N.A.A.G. never responded asserting a contrary opinion. See the government’s exhibits 487
28
     and 820a, which the government did not move into evidence, attached hereto as Ex. A, B.
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 1          During the trial, the Court, at the government’s request, admitted a large amount of
 2   evidence as non-hearsay because the government said it was offering the evidence not for its
 3   truth, but only to prove notice. The government then proceeded to use that evidence for its
 4   truth throughout the trial, including in its closing arguments. For example, in its closing the
 5   government told the jury that the Defendants “know about the Attorney Generals letters,
 6   and they know they are not on solid ground.” 11//01/23 a.m. Tr. at 54:13-14. This is just
 7   one of many examples of “not for the truth” evidence being argued for the truth, i.e., as the
 8   government claimed that Defendants were not on “solid ground” meant the N.A.A.G.
 9   letters were evidence of legal wrongdoing. As another example, the government argued in
10   its closing that the clip from the CNN documentary showed that Backpage.com had
11   “cornered the market on prostitution advertisement” and “all you had to do was go to
12   Backpage” and post an ad and the “phone started ringing in minutes.” Id. at 49:21-50:1.
13   The government’s repeated claims that all the adult ads on Backpage.com were prostitution
14   ads, and that nearly all of Backpage.com’s revenues were from prostitution ads, were
15   backstopped with not for the truth evidence that was used for the truth—which was just
16   inadmissible hearsay.
17
     5.     The Court Should Grant a New Trial Because the Significant Changes in the
18          Jury Instructions Just Before Closing Arguments Commenced Were Highly
            Prejudicial to the Defense.
19
            In advance of the trial, the government and the defense submitted their proposed
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     jury instructions, with the defense requesting instructions that the First Amendment
21
     protected Backpage.com’s publication of adult speech “unless the transaction proposed in
22
     the ad necessarily would be an illegal act” (Doc. 1626-3 at 161), citing, among other
23
     authorities, Valle Del Sol Inc. v. Whiting, 709 F3d 808, 822 (9th Cir. 2013). Defendants also
24
     requested an instruction that, “to satisfy the specific intent requirements of the Travel Act,
25
     the government must prove beyond a reasonable doubt, for each Count, that each defendant
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     in some significant manner associated himself or herself with a particular business enterprise
27
     associated with the ad charged in that Count with the intent to promote, or facilitate the
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 1   promotion of, the prostitution offenses committed by that business enterprise” (Doc. 1626-3
 2   at 47), citing, among other authorities, United States v. Hansen, 599 U.S. 762 (2023). Before
 3   the trial commenced, the Court provided the parties with its proposed jury instructions,
 4   which rejected these two instructions proposed by Defendants, but included a First
 5   Amendment instruction saying, among other things, that: “the First Amendment does not
 6   protect speech relating to illegal activity.”
 7          While disagreeing with the Court’s decisions regarding these instructions, Defendants
 8   nonetheless prepared to try their case in accordance with them. Given these instructions,
 9   Defendants were effectively precluded from mounting a First Amendment defense, which
10   was mentioned only in passing in one defense opening and in the presentation of evidence
11   during the trial. Defendants likewise were unable to mount the specific intent defense they
12   had intended—an aiding and abetting defense—whether in their openings or through
13   eliciting evidence during the trial.
14          On the morning before closing arguments commenced, the Court made material
15   alterations to the jury instructions, including changing the First Amendment jury instruction
16   so that it no longer read “the First Amendment does not protect speech relating to illegal
17   activity” but instead said “the First Amendment does not protect speech that proposes an
18   illegal transaction.” Doc. 1998 at 48. The Court also modified the Travel Act jury
19   instruction to include language saying: “To prove specific intent, the government must
20   establish that each defendant in some significant manner associated himself or herself with
21   the purpose of promoting or facilitating the promotion of any business enterprise involving
22   prostitution offenses that the defendant knew to be unlawful under state law.” Each of
23   these changes was dramatic from the standpoint of the defense case.
24          While the defense welcomed these modifications to the jury instructions (while still
25   believing they were legally insufficient), these last-minute changes nonetheless severely
26   prejudiced the defense for three reasons. First, the defense was unable make use of the
27   instructions in their openings, in shaping the testimony that was elicited on cross-
28   examination, or in assessing the witnesses they would call in the defense case. The Court’s

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 1   original First Amendment instruction, for example, would have dramatically undermined the
 2   effectiveness of an advice of counsel defense, while the instruction ultimately given would
 3   have allowed for a viable advice of counsel defense. Second, because the defense learned of
 4   these instructions on the cusp of closings, some defense counsel had no ability to adjust their
 5   closing arguments to account for the changes, particularly Mr. Cambria. But even those
 6   counsel who had a few days to adjust could not comb through 4,500 pages of transcripts to
 7   look for testimony that was not helpful under the original instructions but would have been
 8   helpful under the final instructions. Third, and critically, during the trial the Court admitted
 9   large quantities of evidence that was highly prejudicial to the defense that arguably could
10   have been relevant under a “speech relating to illegal activity” standard, but which would not
11   have been relevant under the “speech that proposes an illegal transaction” standard. The
12   defense objected to all this evidence, but its objections were overruled. If the defense had
13   known the case would go to the jury under the “speech that proposes an illegal transaction”
14   standard, the defense would have had much stronger arguments to exclude most, if not all,
15   of the “notice” evidence, which could have dramatically altered the evidence admitted.
16
     6.     The Court Should Grant a New Trial Because the Jury Instructions Provided
17          Inadequate Guidance to the Jury and Allowed the Jury to Convict on Legally
            Invalid Grounds—Which the Government Repeatedly Urged the Jury to Do.
18
            Even with the Court’s modifications to the jury instructions after the close of
19
     evidence, the instructions still suffered from three significant flaws.
20
            First, the Court’s First Amendment instruction included the correct legal standard—
21
     “the First Amendment does not protect speech that proposes an illegal transaction”—but
22
     the instruction failed to tell the jury how those words have been interpreted by the Ninth
23
     Circuit and other courts. As set forth in Mr. Spear’s Rule 29 motion and in the authorities
24
     supporting Defendants’ proposed jury instructions (Doc. 1626-3 at 161-164), whether a
25
     particular instance of speech is protected must be evaluated from the content of the speech
26
     alone and speech is presumptively protected unless it proposes a transaction would necessarily
27
     constitute an illegal act. The failure to provide such guidance to the jury resulted in the jury
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 1   convicting Mr. Spear on numerous Travel Act counts, even though the publication of the
 2   ads underlying those counts were protected by the First Amendment because, as a matter of
 3   law, the ads did not propose transactions that would necessarily constitute an illegal act (and
 4   nine of the ads expressly disclaimed being solicitations of prostitution—exhibits 216-a, 504-
 5   511). Moreover, the lack of guidance also allowed the government to turn the law on its
 6   head, telling the jury that it could determine that a facially lawful ad saying “this is not an
 7   offer of prostitution” “is really for prostitution” and that contrary claims were “nonsense.”
 8   10/27/23 a.m. Tr. at 10:21-11:2.
 9          Second, although the Court added language looking somewhat like an aiding and
10   abetting instruction to the Travel Act instruction, that language not only varied materially
11   from the pertinent Ninth Circuit law, but it greatly eroded what was required for the jury to
12   find specific intent, as it required the jury to find not that a defendant associated himself
13   with a specific criminal enterprise with the intent of promoting it, but with the “purpose” of
14   promoting “any business enterprise involving prostitution offenses.” In United States v.
15   Gibson Specialty Co., 507 F.2d 446, 449 (9th Cir. 1974), the Ninth Circuit held that a
16   conviction under the Travel Act requires the prosecutor to “show that the [defendant] in
17   some significant manner associated himself with the purchaser’s criminal venture for the purpose
18   of its advancement”) (emphasis added). The Court’s instruction only required the
19   prosecution to show that Defendants “in some significant manner associated himself or
20   herself with the purpose of promoting or facilitating the promotion of any business
21   enterprise involving prostitution offenses that the defendant knew to be unlawful under state
22   law” (Doc. 1998 at 30), which would allow conviction based on an intent to promote “the
23   amorphous notion of ‘prostitution’” (Doc. 946 at 13:17-22) and based on an intent “to
24   promote/facilitate a business enterprise one does not know exists” (Id. at 15:26-16:1), both
25   of which are inconsistent with this Court’s prior rulings, as well as with the holding of the
26   Ninth Circuit in Gibson and the Supreme Court in Hansen.
27          Finally, the Court overruled Defendants’ objection to having just one Travel Act
28   instruction for fifty separate Travel Act counts and also rejected Defendants’ proposed

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 1   Travel Act jury instruction that made clear that the government had to prove that each
 2   Defendant had the specific intent to facilitate the prostitution offenses of the specific
 3   business enterprise associated with the charged ad for that count. The instruction given to
 4   the jury improperly allowed it to mix and match the elements among all the Travel Act
 5   counts, to find that an intent to promote “any” business enterprise, even if unconnected to a
 6   count, allowed the jury to convict as to that count, and to find specific intent through proof
 7   of general intent. And that is exactly what the government told the jury it could do in its
 8   closing: “But what this instruction makes clear is that the if the defendant associated himself
 9   with the purpose of promoting any business enterprise involving prostitution, then he is
10   guilty.” 11/01/23 a.m. Tr. at 51:4-7.
11           Because of these flaws in the jury instructions, the jury could have (and likely did)
12   convict Defendants for crimes based on Backpage’s publication of ads that were protected
13   by the First Amendment and without finding every required element of the applicable
14   offense. Because it is not possible to determine whether the jury convicted on a legally valid
15   or a legally invalid basis, the verdict cannot stand. Keating v. Hood, 191 F.3d 1053, 1062 (9th
16   Cir. 1999) (“The fundamental rule that applies when a jury delivers a general verdict that may
17   rest either on a legally valid or legally invalid ground is clear: the verdict may not stand when
18   there is no way to determine its basis.”). Because the jury instructions allowed the jury
19   verdicts in this case to rest on legally invalid bases, the Court should order a new trial.
20           RESPECTFULLY SUBMITTED this 4th day of December, 2023,
21
                                               Paul J. Cambria, Jr.
22
                                               Erin McCampbell Paris
23                                             LIPSITZ GREEN SCIME CAMBRIA LLP
24                                             By:      /s/ Paul J. Cambria, Jr.
25                                                      Paul J. Cambria, Jr.
                                                        Attorneys for Michael Lacey
26
     Pursuant to the District’s Electronic Case Filing Administrative Policies and Procedures Manual (Jan.
27
     2020) § II (C) (3), Paul J. Cambria hereby attests that all other signatories listed, and on whose behalf this
28   filing is submitted, concur in the filing’s content, and have authorized its filing.
                                                          19
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 1
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18

19

20   On December 4, 2023, a PDF version of this document was
     filed with Clerk of the Court using the CM/ECF System
21   for filing and for Transmittal of a Notice of Electronic
     Filing to the to the CM/ECF registrants who have
22   entered their appearance as counsel of record
23

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